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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO

HUBERT VAN DER HEIJDEN, and CARLY                  )
VAN DER HEIJDEN, husband and wife                  )
                                                   )      CASE NO. 07-5 EJL
               Plaintiffs,                         )
                                                   )
v.                                                 )      STIPULATION FOR ORDER OF
                                                   )      DISMISSAL WITH PREJUDICE
SAFECO INSURANCE CO. OF AMERICA, a                 )
foreign corporation licensed to do business in     )
Idaho,                                             )
                                                   )
               Defendant.                          )
                                                   )

       IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto,
through their respective counsel, that the above-entitled action has been fully settled and
compromised and that said cause of action may be dismissed with prejudice and without costs.


Dated this 30th   day of August, 2007.                 Dated this 11th   day of September, 2007.

LAYMAN, LAYMAN & ROBINSON,                             MORRISON & ASSOCIATES PC
PLLP
                                                       By: s/ Ronald G Morrison
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